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 4
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 5   the Proposed Class
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9
      FOR THE CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
11   TERRY FABRICANT, individually
     and on behalf of all others similarly         Case No.
12   situated,
13                                                 COMPLAINT FOR:
                        Plaintiff,                   1. VIOLATIONS OF THE
14
                                                        TELEPHONE CONSUMER
           v.
15                                                      PROTECTION ACT, 47 U.S.C.
16                                                      § 227(b)
     SIGNAPAY, LTD. and JOHN DOE                     2. KNOWING OR WILLFUL
17   CORPORATION D/B/A                                  VIOLATIONS OF THE
18   PAYLORATE.COM                                      TELEPHONE CONSUMER
                                                        PROTECTION ACT, 47 U.S.C.
19                                                      § 227(b)
                        Defendants.
20
21                                                 Class Action
22
                                                   DEMAND FOR JURY TRIAL
23
24
25
26
27
28
                                             -1-
                                       COMPL.
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 1          Plaintiff TERRY FABRICANT (“Plaintiff”), by his undersigned counsel, for
 2   this class action complaint against Defendants SIGNAPAY, LTD. and JOHN DOE
 3
     CORPORATION D/B/A PAYLORATE.COM and their present, former, or future
 4
 5   direct and indirect parent companies, subsidiaries, affiliates, agents, and/or other
 6
     related entities (“Defendants”), alleges as follows:
 7
 8   I.     NATURE OF THE ACTION
 9          1.    Nature of Action. Plaintiff, individually and as class representative
10
     for all others similarly situated, brings this action against Defendants for violations
11
12   of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”).
13
14   II.    PARTIES
15          2.    Plaintiff Terry Fabricant is an individual residing in California, in this
16
     District.
17
18          3.    Signapay, Ltd. is a Texas corporation with its principal place of
19
     business in Irving, Texas and a registered agent of John R. Martillo, 4100 W.
20
21   Royal Lane, Suite 150 in Irving, TX 75063. It does business in California and
22   throughout the United States, including sending applications to potential
23
     customers, as it did with the Plaintiff through PayLowRate.com.
24
25          4.    Defendant John Doe Corporation is a company hired by SignaPay that
26
     makes automated telemarketing calls, such as the one made to the Plaintiff. John
27
28
                                           -2-
                                        COMPL.
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 1   Doe Corporation regularly conducts business in this District, including through the
 2   making of telemarketing calls, as it did with the Plaintiff.
 3
     III.    JURISDICTION AND VENUE
 4
 5           5.    Jurisdiction. This Court has subject matter jurisdiction over Plaintiff’s
 6
     claims pursuant to 28 U.S.C. § 1331 because they arise under a law of the United
 7
 8   States: 47 U.S.C. § 227.
 9           6.    Personal Jurisdiction. This Court has personal jurisdiction over
10
     Defendants because the challenged calls at the heart of this case were directed into
11
12   California. Furthermore, SignaPay’s application was sent to the Plaintiff in
13
     California in an attempt to secure more business in California.
14
15           7.    Venue. Venue is proper in this District pursuant to 28 U.S.C. §
16   1391(b)(1)-(2) because Plaintiff resides in this District and the challenged calls at
17
     the heart of this case were directed by Defendants into this District.
18
19   IV.     THE TELEPHONE CONSUMER PROTECTION ACT OF 1991,
20
             47 U.S.C. § 227
21
22                                 The History of the TCPA
23           8.    In 1991, Congress enacted the TCPA in response to a growing number
24
     of consumer complaints regarding certain telemarketing practices.
25
26           9.    The TCPA makes it unlawful “to make any call (other than a call
27
     made for emergency purposes or made with the prior express consent of the called
28
                                           -3-
                                        COMPL.
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 1   party) using an automatic telephone dialing system or an artificial or prerecorded
 2   voice . . . to any telephone number assigned to a . . . cellular telephone service.” 47
 3
     U.S.C. § 227(b)(1)(A)(iii). The TCPA provides a private cause of action to people
 4
 5   who receive calls in violation of § 227(b)(1)(A). Id. § 227(b)(3).
 6
           10.    According to findings by the Federal Communication Commission
 7
 8   (“FCC”), the agency Congress vested with authority to issue regulations
 9   implementing the TCPA, such calls are prohibited because, as Congress found,
10
     automated or prerecorded telephone calls are a greater nuisance and invasion of
11
12   privacy than live solicitation calls, and can be costly and inconvenient.
13
           11.    The FCC also recognized that “wireless customers are charged for
14
15   incoming calls whether they pay in advance or after the minutes are used.” In re
16   Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC
17
     Rcd. 14014, 14115 ¶ 165 (2003).
18
19         12.    Since 2013, the FCC has required “prior express written consent” for
20
     all autodialed or prerecorded telemarketing calls (“robocalls”) to wireless numbers
21
22   and residential lines. Specifically, it ordered:
23
                  [A] consumer’s written consent to receive telemarketing
24
25                robocalls must be signed and be sufficient to show that the
26                consumer: (1) received “clear and conspicuous disclosure”
27
                  of the consequences of providing the requested consent,
28
                                            -4-
                                        COMPL.
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 1               i.e., that the consumer will receive future calls that deliver
 2               prerecorded messages by or on behalf of a specific seller;
 3
                 and (2) having received this information, agrees
 4
 5               unambiguously to receive such calls at a telephone number
 6
                 the consumer designates. In addition, the written
 7
 8               agreement must be obtained “without requiring, directly
 9               or indirectly, that the agreement be executed as a condition
10
                 of purchasing any good or service.” In re Rules &
11
12               Regulations Implementing the Tel. Consumer Prot. Act of
13
                 1991, 27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnote
14
15               omitted).
16
                    The Growing Problem of Automated Telemarketing
17
18         13.   “Robocalls and telemarketing calls are currently the number one
19   source of consumer complaints at the FCC.” Tom Wheeler, Cutting Off Robocalls
20
     (July 22, 2016), https://www.fcc.gov/news-events/blog/2016/07/22/cutting-
21
22   robocalls (statement of FCC chairman).
23
           14.   “The FTC receives more complaints about unwanted calls than all
24
25   other complaints combined.” Staff of the Federal Trade Commission’s Bureau of
26   Consumer Protection, In re Rules and Regulations Implementing the Telephone
27
     Consumer Protection Act of 1991, Notice of Proposed Rulemaking, CG Docket
28
                                          -5-
                                       COMPL.
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 1   No. 02-278, at 2 (2016),
 2   https://www.ftc.gov/system/files/documents/advocacy_documents/commentstaff-
 3
     ftc-bureau-consumer-protection-federal-communications-commission-
 4
 5   rulesregulations/160616robocallscomment.pdf.
 6
           15.    In fiscal year 2017, the FTC received 4,501,967 complaints about
 7
 8   robocalls, compared with 3,401,614 in 2016. Federal Trade Commission, FTC
 9   Releases FY 2017 National Do Not Call Registry Data Book and DNC Mini Site
10
     (Dec. 18, 2017), https://www.ftc.gov/news-events/press-releases/2017/12/ftc-
11
12   releases-fy-2017-nationaldo-not-call-registry-data-book-dnc.
13
           16.    The New York Times recently reported on the skyrocketing number of
14
15   robocall complaints and widespread outrage about illegal telemarketing. Tara
16   Siegel Bernard, Yes, It’s Bad. Robocalls, and Their Scams, Are Surging, N.Y.
17
     Times (May 6, 2018), https://www.nytimes.com/2018/05/06/your-
18
19   money/robocalls-riseillegal.html; see also Katherine Bindley, Why Are There So
20
     Many Robocalls? Here’s What You Can Do About Them, Wall St. J. (July 4, 2018),
21
22   https://www.wsj.com/articles/why-there-are-so-manyrobocalls-heres-what-you-
23   can-do-about-them-1530610203.
24
           17.    Even more recently, a technology provider combating robocalls
25
26   warned that nearly half of all calls to cell phones next year will be fraudulent. Press
27
     Release, First Orion, Nearly 50% of U.S. Mobile Traffic Will Be Scam Calls by
28
                                           -6-
                                        COMPL.
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 1   2019 (Sept. 12, 2018), https://www.prnewswire.com/news-releases/nearly-50-of-
 2   us-mobile-traffic-will-be-scam-calls-by-2019-300711028.html
 3
     V.      FACTUAL ALLEGATIONS
 4
 5           18.   SignaPay is a company that supports businesses accepting electronic
 6
     payments.
 7
 8           19.   However, SignaPay’s contact with the potential new customers is
 9   limited, and the telemarketing is conducted by third parties, such as
10
     PayLoRate.com.
11
12           20.   Defendants’ strategy for generating new customers involves the use of
13
     an automatic telephone dialing system (“ATDS”) to solicit business.
14
15           21.   Defendants uses ATDSs that have the capacity to store or produce
16   telephone numbers to be called.
17
             22.   Defendants’ ATDSs include predictive dialers.
18
19           23.   Recipients of these calls, including Plaintiff, did not consent to receive
20
     them.
21
22           24.   Plaintiff is, and at all times mentioned herein was, a “person” as
23   defined by 47 U.S.C. § 153(39).
24
25
26
27
28
                                           -7-
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 1    The Automated Telemarketing Call From Defendants to a Number Listed on the
 2                              National Do Not Call Registry
 3
           25.    Plaintiff’s telephone number, (818)-352-XXXX, is registered to a
 4
 5   cellular telephone service, which is the number he received the call on.
 6
           26.    It has been on the National Do Not Call Registry since 2008.
 7
 8         27.    On March 28, 2019, the Plaintiff received a call from PayLoRate.com.
 9         28.    The caller ID showed the telephone call was from (833) 293-3337.
10
           29.    That phone number is also (833) BYE-FEES, the number advertised
11
12   on PayLoRate.com’s website. See https://www.paylorate.com/contact (last visited
13
     April 18, 2019).
14
15         30.    Plaintiff answered.
16         31.    Unlike on a normal call, no one promptly announced herself to
17
     Plaintiff. Instead, Plaintiff heard an unnatural click and pause. This is indicative of
18
19   the fact that the calls were made with an ATDS.
20
           32.    Furthermore, the Caller ID (833) 293-3337 has been identified as
21
22   associated with robocalls, further indicating the use of an ATDS. See
23   https://www.nomorobo.com/lookup/833-293-3337 (Last visited April 18, 2019).
24
           33.    Eventually, however, a live salesperson did come on the line.
25
26         34.    The salesperson claimed that their company was calling about saving
27
     money regarding credit card processing.
28
                                           -8-
                                        COMPL.
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 1         35.    In order to identify the caller, Plaintiff provided his email address to
 2   receive more information to identify the caller.
 3
           36.    The Plaintiff received an e-mail from “veronica@paylorate.com”
 4
 5   confirming the telemarketing call was from PayLoRate.com.
 6
           37.    In that e-mail was an application for payment processing services
 7
 8   from SignaPay.
 9         38.    The application was entitled “SignaPay Merchant Processing
10
     Application & Agreement”.
11
12         39.    The application also stated that “SignaPay is a registered ISO of
13
     Commercial Bank of California, Irvine, CA,”
14
15         40.    The application would also bind SignaPay in contract, as the
16   application had a signature place for SignaPay, Ltd.
17
           41.    The call was not necessitated by an emergency.
18
19         42.    Plaintiff’s privacy has been violated by the above-described
20
     telemarketing robocalls from, or on behalf of, Defendants. The calls were an
21
22   annoying, harassing nuisance.
23         43.    Plaintiff and all members of the Class, defined below, have been
24
     harmed by the acts of Defendants because their privacy has been violated, they
25
26   were annoyed and harassed, and, in some instances, they were charged for
27
28
                                          -9-
                                        COMPL.
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 1   incoming calls. The calls occupied their cellular telephone lines, rendering them
 2   unavailable for legitimate communication.
 3
     VI.    SIGNAPAY’S LIABILITY AND ITS ARRANGEMENT WITH JOHN
 4
 5          DOE CORPORATION
 6
            44.   For more than twenty years, the FCC has explained that its “rules
 7
 8   generally establish that the party on whose behalf a solicitation is made bears
 9   ultimate responsibility for any violations.” In re Rules & Regulations Implementing
10
     the TCPA, CC Docket No. 92-90, Memorandum Opinion and Order, 10 FCC Rcd
11
12   12391, 12397 (¶ 13) (1995).
13
            45.   On May 9, 2013, the FCC released a Declaratory Ruling holding that
14
15   a corporation or other entity that contracts out its telephone marketing “may be
16   held vicariously liable under federal common law principles of agency for
17
     violations of either section 227(b) or section 227(c) that are committed by third-
18
19   party telemarketers.” 1
20
            46.   In that ruling, the FCC instructed that sellers such as SignaPay may
21
22   not avoid liability by outsourcing telemarketing:
23          [A]llowing the seller to avoid potential liability by outsourcing its
24
            telemarketing activities to unsupervised third parties would leave
25
26
27
     1
           In re Joint Petition Filed by DISH Network, LLC et al. for Declaratory Ruling
28   Concerning the TCPA Rules, 28 FCC Rcd 6574, 6574 (¶ 1) (2013) (“May 2013 FCC Ruling”).
                                         - 10 -
                                        COMPL.
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 1         consumers in many cases without an effective remedy for telemarketing
 2         intrusions. This would particularly be so if the telemarketers were
 3
           judgment proof, unidentifiable, or located outside the United States, as
 4
 5         is often the case. Even where third-party telemarketers are identifiable,
 6
           solvent, and amenable to judgment limiting liability to the telemarketer
 7
 8         that physically places the call would make enforcement in many cases
 9         substantially more expensive and less efficient, since consumers (or law
10
           enforcement agencies) would be required to sue each marketer
11
12         separately in order to obtain effective relief. As the FTC noted, because
13
           “[s]ellers may have thousands of ‘independent’ marketers, suing one or
14
15         a few of them is unlikely to make a substantive difference for consumer
16         privacy.” May 2013 FCC Ruling, 28 FCC Rcd at 6588 (¶ 37) (internal
17
           citations omitted).
18
19         47.    The May 2013 FCC Ruling held that, even absent evidence of a
20
     formal contractual relationship between the seller and the telemarketer, a seller is
21
22   liable for telemarketing calls if the telemarketer “has apparent (if not actual)
23   authority” to make the calls. 28 FCC Rcd at 6586 (¶ 34).
24
           48.    SignaPay is liable for the PayLoRate telemarketing calls because it
25
26   actively participated in those calls by participating in the actual calling through the
27
     submission of the application, as described above.
28
                                         - 11 -
                                        COMPL.
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 1         49.    By engaging PayLoRate to make calls on behalf of its agents to
 2   generate new business, SignaPay “manifest[ed] assent to another person . . . that
 3
     the agent shall act on the principal’s behalf and subject to the principal’s control”
 4
 5   as described in the Restatement (Third) of Agency.
 6
           50.    Furthermore, PayLoRate.com’s ability to bind SignaPay in contract is
 7
 8   an additional indication of their agency.
 9         51.    Moreover, SignaPay maintained interim control over PayLoRate’s
10
     actions.
11
12         52.    For example, SignaPay had absolute control over whether, and under
13
     what circumstances, it would accept a customer.
14
15         53.    Furthermore, SignaPay had day-to-day control over PayLoRate’s
16   actions, including the ability to prohibit it from using an ATDS to contact potential
17
     customers of SignaPay. SignaPay failed to make such an instruction to PayLoRate,
18
19   and as a result, is liable for PayLoRate’s conduct.
20
           54.    SignaPay also gave interim instructions to PayLoRate by providing
21
22   the volume of calling and leads it would purchase.
23         55.    Finally, the May 2013 FCC Ruling states that called parties may
24
     obtain “evidence of these kinds of relationships . . . through discovery, if they are
25
26   not independently privy to such information.” Id. at 6592-593 (¶ 46). Evidence of
27
     circumstances pointing to apparent authority on behalf of the telemarketer “should
28
                                         - 12 -
                                        COMPL.
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 1    be sufficient to place upon the seller the burden of demonstrating that a reasonable
 2    consumer would not sensibly assume that the telemarketer was acting as the
 3
      seller’s authorized agent.” Id. at 6593 (¶ 46).
 4
 5   VII.   CLASS ACTION ALLEGATIONS
 6
            56.    Class Definition. Pursuant to Federal Rule of Civil Procedure
 7
 8    23(b)(2) and (b)(3), Plaintiff brings this case on behalf of a class (the “Class”)
 9    defined as follows:
10
            All persons to whom: (a) Defendants and/or a third party acting on
11
12          Defendants’ behalf made one or more non-emergency telephone calls; (b)
13
            promoting Defendants’ goods or services; (c) to a cellular telephone number;
14
15          (d) through the use of an automatic telephone dialing system or an artificial
16          or prerecorded voice; (e) at any time in the period that begins four years
17
            before the date of filing the original complaint in this case and ends at the
18
19          date of trial.
20
            57.    Exclusions. Excluded from the Class are Defendants, any entity in
21
22    which Defendants have a controlling interest or that has a controlling interest in
23    Defendants, the judges to whom this case is assigned and the legal representatives,
24
      assignees, and successors and immediate family members of all of the foregoing.
25
26          58.    Numerosity. The Class is so numerous that joinder of all its members
27
      is impracticable. On information and belief, the Class has more than 100
28
                                           - 13 -
                                          COMPL.
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 1   members. Moreover, the disposition of the claims of the Class in a single action
 2   will provide substantial benefits to all parties and the Court.
 3
           59.      Commonality. The key questions driving the outcome of this dispute
 4
 5   have the same answers for all Class members. Those questions include, but are not
 6
     limited to, the following:
 7
 8                  a.    Whether Defendants used an ATDS, as defined by Marks v.
 9   Crunch San Diego, LLC, 904 F.3d 1041, 1043 (9th Cir. 2018);
10
                    b.    Whether Defendants purchased batches of leads of prospects
11
12   who had not consented to be called by it;
13
                    c.    Whether SignaPay is vicariously liable for the conduct of
14
15   PayLoRate.com.
16                  d.    Whether Defendants’ violations of the TCPA were knowing
17
     and willful;
18
19                  e.    Whether Defendants is liable for ATDS-generated and/or
20
     automated or prerecorded calls promoting its products made by third parties; and
21
22                  f.    Whether Defendants should be enjoined from engaging in
23   similar telemarketing in the future.
24
           60.      Typicality. Plaintiff’s claims are typical of the claims of the Class.
25
26   Plaintiff’s claims and those of the Class arise out of the same course of conduct by
27
     Defendants and are based on the same legal and remedial theories.
28
                                          - 14 -
                                         COMPL.
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 1         61.    Adequacy. Plaintiff will fairly and adequately protect the interests of
 2   the Class. Plaintiff has retained competent and capable counsel with experience in
 3
     TCPA class litigation. Plaintiff and his counsel are committed to prosecuting this
 4
 5   action vigorously on behalf of the Class and have the financial resources to do so.
 6
     Neither Plaintiff nor his counsel has interests contrary to or conflicting with those
 7
 8   of the proposed Class.
 9         62.    Predominance. Defendants have engaged in a common course of
10
     conduct toward Plaintiff and members of the Class. The common issues arising
11
12   from this conduct that affect Plaintiff and members of the Class predominate over
13
     any individual issues. For example, the TCPA’s statutory damages obviate the
14
15   need for mini-trials on actual damages. Adjudication of these common issues in a
16   single action has important advantages, including judicial economy.
17
           63.    Superiority. A class action is the superior method for the fair and
18
19   efficient adjudication of this controversy. Classwide relief is essential to compel
20
     Defendants to comply with the TCPA. The interest of individual members of the
21
22   Class in individually controlling the prosecution of separate claims against
23   Defendants is small because the damages in an individual action for violation of
24
     the TCPA are dwarfed by the cost of prosecution. Management of these claims is
25
26   likely to present significantly fewer difficulties than are presented in many class
27
     actions because the calls at issue are automated and because the TCPA lays down
28
                                         - 15 -
                                        COMPL.
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 1   bright-line standards for liability and damages. Class treatment is superior to
 2   thousands of individual suits because it conserves judicial resources, promotes
 3
     consistency and efficiency of adjudication, provides a forum for small claimants
 4
 5   and deters illegal activities. There will be no significant difficulty in the
 6
     management of this case as a class action.
 7
 8         64.    Only 1 in 7 million robocalls results in the filing of a federal TCPA
 9   suit. Compare Herb Weisbaum, It’s Not Just You—Americans Received 30 Billion
10
     Robocalls Last Year, NBC News (Jan. 17, 2018),
11
12   https://www.nbcnews.com/business/consumer/it-s-not-just-you-americans-
13
     received-30-billion-robocalls-n838406 (30.5 billion robocalls); with WebRecon,
14
15   WebRecon Stats for Dec 2017 & Year in Review (last visited Oct. 29, 2018),
16   https://webrecon.com/webrecon-stats-fordec-2017-year-in-review/ (4,392 TCPA
17
     complaints). Except to the extent that they are remedied by class actions, the other
18
19   6,999,999 are made with impunity.
20
           65.    Injunctive and Declaratory Relief is Appropriate. Defendants have
21
22   acted on grounds generally applicable to the Class, thereby making final injunctive
23   relief and corresponding declaratory relief with respect to the Class appropriate on
24
     a classwide basis.
25
26         66.    Notice. Plaintiff anticipates that the mailing address and/or electronic
27
     mailing address of Class members will be obtained during discovery from
28
                                         - 16 -
                                        COMPL.
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 1   Defendants’ calling records (potentially in conjunction with third-party databases
 2   that map phone numbers to such addresses). Plaintiff anticipates that Class counsel
 3
     will notify Class members in writing at such addresses.
 4
 5   VIII. FIRST CLAIM FOR RELIEF
 6
 7         (Violations of the Telephone Consumer Protection Act, 47 U.S.C. §
 8
                                          227(b)(1)(A))
 9
10         67.    Plaintiff realleges and incorporates by reference each and every
11
     allegation set forth in the preceding paragraphs.
12
13         68.    The foregoing acts and omissions of Defendants and/or their affiliates
14   or agents, and/or other persons or entities acting on Defendants’ behalf, constitute
15
     numerous violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making non-
16
17   emergency calls to the cellular telephone numbers of Plaintiff and members of the
18
     Class using an ATDS and/or artificial or prerecorded voice.
19
20         69.    Therefore, Plaintiff and members of the Class are entitled to an award
21   of $500 in damages for each and every call made to their cellular telephone
22
     numbers using an ATDS and/or artificial or prerecorded voice in violation of the
23
24   statute. 47 U.S.C. § 227(b)(3)(B).
25
           70.    Plaintiff and members of the Class are also entitled to and do seek
26
27   injunctive relief prohibiting Defendants, its affiliates and agents, and any other
28   persons or entities acting on its behalf from violating the TCPA, 47 U.S.C. §
                                           - 17 -
                                          COMPL.
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 1   227(b)(1)(A), by making calls, except for emergency purposes, to any cellular
 2   telephone numbers using an ATDS and/or artificial or prerecorded voice.
 3
 4   IX.      SECOND CLAIM FOR RELIEF
 5
          (Knowing and/or Willful Violations of the Telephone Consumer Protection
 6
 7                               Act, 47 U.S.C. § 227(b)(1)(A))
 8
              71.   Plaintiff realleges and incorporates by reference each and every
 9
10   allegation set forth in the preceding paragraphs.
11
              72.   As a result of knowing and/or willful violations of the TCPA, 47
12
13   U.S.C. § 227(b)(1)(A), by Defendants, its affiliates or agents, and/or other persons
14   or entities acting on its behalf, Plaintiff and members of the Class are entitled to
15
     treble damages of up to $1,500 for each and every call made to their cellular
16
17   telephone numbers using an ATDS and/or artificial or prerecorded voice in
18
     violation of the statute. 47 U.S.C. § 227(b)(3).
19
20   X.       PRAYER FOR RELIEF
21            WHEREFORE, Plaintiff, on his own behalf and on behalf of all members of
22
     the Class, prays for judgment against Defendants as follows:
23
24            A.    Certification of the proposed Class;
25
              B.    Appointment of Plaintiff as representative of the Class;
26
27            C.    Appointment of the undersigned counsel as counsel for the Class;
28
                                          - 18 -
                                         COMPL.
                            Fabricant v. Signapay, Ltd., el. al.
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 1            D.     A declaration that actions complained of herein by Defendants and/or
 2   its affiliates, agents, or related entities violate the TCPA;
 3
              E.     An order enjoining Defendants and its affiliates, agents and related
 4
 5   entities from engaging in the unlawful conduct set forth herein;
 6
              F.     An award to Plaintiff and the Class of damages, as allowed by law;
 7
 8            G.     An award to Plaintiff and the Class of attorney’s fees and costs, as
 9   allowed by law and/or equity;
10
              H.     Leave to amend this Complaint to conform to the evidence presented
11
12   at trial; and
13
              I.     Orders granting such other and further relief as the Court deems
14
15   necessary, just and proper.
16   XI.      DEMAND FOR JURY
17
              Plaintiff demands a trial by jury for all issues so triable.
18
19
20
     Dated: May 6, 2019                         Respectfully Submitted,
21                                              SCHLICHTER & SHONACK, LLP
22
23
                                                 /s/ William A. Percy
24                                               By: WILLIAM A. PERCY
25                                               Attorney for Plaintiff
                                                 Terry Fabricant and the Proposed Class
26
27
28
                                            - 19 -
                                           COMPL.
                              Fabricant v. Signapay, Ltd., el. al.
